Case 1:15-cr-00095-WFK Document 275-1 Filed 03/16/18 Page 1 of 4 PageID #: 1235




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  UNITED STATES DISTRICT COURT
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  EASTERN DISTRICT OF NEW YORK                                                      or HEY/YckJ-'
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  UNITED STATES OF AMERICA                       SUPERSEDING
                                                 INDICTMENT
         - against -
                                                 Cr. No. 15-95 fS-3^(WFK^
  AKHROR SAIDAKHMETOV,                           (T.18, U.S.C., §§924(0), 1546(a),
  ABRORHABIBOV,                                   2339B(a)(l),2 and 3551 ^seg.)
  AZIZJON RAKHMATOV,
         also known as "Abdulaziz"
         and "Abdul Azizz,"
  AKMALZAKIROVand
  DILKHAYOT KASIMOV,

                         Defendants.

                                             X

  THE GRAND JURY CHARGES:

                                        COUNT ONE
                          (Conspiracy to Provide Material Support to
                               a Foreign Terrorist Organization)

                1.     In or about and between August 2014 and February 2015, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendants AKHROR SAIDAKHMETOV,ABROR HABIBOV,AZIZJON RAKHMATOV,

  also known as "Abdulaziz" and "Abdul Azizz," AKMAL ZAKIROV and DILKHAYOT

  KASIMOV,together with others, did knowingly and intentionally conspire to provide material

 support and resources, as defined in Title 18, United States Code,Section 2339A(b),including



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Case 1:15-cr-00095-WFK Document 275-1 Filed 03/16/18 Page 2 of 4 PageID #: 1236




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  services and SAIDAKHMETOV and Abdurasul Juraboev as personnel, to a foreign terrorist

  organization, to wit: the Islamic State ofIraq and the Levant.

                (Title 18, United States Code, Sections 2339B(a)(l)and 3551 et seq.l

                                          COUNT TWO
                             (Attempt to Provide Material Support to
                                a Foreign Terrorist Organization)

                2.      In or about and between August 2014 and February 2015, both dates

  being approximate and inclusive, within the Eastern District ofNew York and elsewhere, the

  defendants AKHROR SAIDAKHMETOV,ABROR HABIBOV,AZIZJON RAKHMATOV,

  also known as "Abdulaziz" and "Abdul Azizz," AKMAL ZAKIROV and DILKHAYOT

  KASIMOV,together with others, did knowingly and intentionally attempt to provide material

  support and resources, as defined in Title 18, United States Code,Section 2339A(b),including

  services and SAIDAKHMETOV and Abdurasul Juraboev as personnel, to a foreign terrorist

  organization, to wit: the Islamic State ofIraq and the Levant.

                (Title 18, United States Code, Sections 2339B(a)(l),2 and 3551 ^seq.)

                                         COUNT THREE
                                 (Conspiracy to Use a Firearm)

                3.      In or about and between January 2015 and February 2015, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendants AKHROR SAIDAKHMETOV,ABROR HABIBOV and AZIZJON

  RAKHMATOV,also known as "Abdulaziz" and "Abdul Azizz," together with others, did

  knowingly and intentionally conspire to use and carry a firearm during and in relation to one or
Case 1:15-cr-00095-WFK Document 275-1 Filed 03/16/18 Page 3 of 4 PageID #: 1237




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  more crimes of violence, to wit: the crimes charged in Counts One and Two,contrary to Title

  18, United States Code, Section 924(c).

                 (Title 18, United States Code, Sections 924(o)and 3551 et seq.'l

                                           COUNT FOUR
                                     (Travel Document Fraud)

                 4.      In or about and between January 2015 and February 2015, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant AKHROR SAIDAKHMETOV,together with others, did knowingly and

  intentionally make under oath, and knowingly subscribe as true under penalty ofperjury under

  Section 1746 ofTitle 28, United States Code,one or more false statements with respect to one

  or more material facts to facilitate an act of international terrorism, to wit:

                        (a)     that SAIDAKHMETOV intended to travel to Turkey, Uzbekistan

  and Kazakhstan, when in fact, as SAIDAKHMETOV then and there well knew and believed,

  he intended to travel to Syria; and

                        (b)     that the purpose ofSAIDAKHMETOV's travel was "travel" and

  "entertainment," when in fact, as SAIDAKHMETOV then and there well knew and believed,

  the purpose of his travel was to join the Islamic State of Iraq and the Levant;
Case 1:15-cr-00095-WFK Document 275-1 Filed 03/16/18 Page 4 of 4 PageID #: 1238




  in an application required by the immigration laws and regulations prescribed thereunder, to

  wit: a Form 1-131 Application for Travel Document, and did knowingly and intentionally

  present such application, which contained such false statements.

               (Title 18, United States Code, Sections 1546(a),2 and 3551 et seg.)


                                                                 A TRUE BILL




                                                           ^    FOkEPERSON



  ROBERT L.CAP1
  UNITED STATES ATTORNEY
  EASTERN DISTRICT OF NEW YORK
